8:05-cr-00094-LSC-FG3         Doc # 201         Filed: 04/17/06   Page 1 of 1 - Page ID # 700




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )               Case No. 8:05CR94
                                            )
              v.                            )
                                            )        REPORT AND RECOMMENDATION
JUAN GARCIA,                                )                AND ORDER
                                            )
                     Defendant.             )


       At the conclusion of the hearing on April 14, 2006, on defendant’s Motion to
Suppress (#184), I stated my conclusions on the record and my decision to recommend
that the motion to suppress be denied. In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, United States District
Judge, that the Motion to Suppress (#184) be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.     Pursuant    to NECrimR 57.3,            any objection    to this Report      and
Recommendation shall be filed with the Clerk of the Court within ten (10) days after the
transcript is available to counsel. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 17th day of April 2006.

                                            BY THE COURT:


                                            S/ F.A. Gossett
                                            United States Magistrate Judge
